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 Counsel for Highland Capital Management, L.P.

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                       §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                       §
                                                       §
                                 Plaintiff,
                                                       §
                                                       §   Adv. Proc. No. 21-03003-sgj
 vs.
                                                       §
                                                       §
 JAMES DONDERO, NANCY DONDERO, AND THE
                                                       §
 DUGABOY INVESTMENT TRUST,                                 Case No. 3:21-cv-00881-X
                                                       §
                                                       §
                                 Defendants.
                                                       §
                                                       §




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                                                       §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                       §
                                                       §
                                                       §   Adv. Proc. No. 21-03004-sgj
                                 Plaintiff,
                                                       §
 vs.                                                   §
                                                       §
                                                       §   Case No. 3:21-cv-00881-X
 HIGHLAND CAPITAL MANAGEMENT FUND                      §
 ADVISORS, L.P.,                                       §
                                                       §
                                                       §
                                 Defendant.            §
                                                       §
                                                       §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                       §
                                                       §
                                 Plaintiff,                Adv. Proc. No. 21-03005-sgj
                                                       §
                                                       §
 vs.
                                                       §
                                                       §
 NEXPOINT ADVISORS, L.P., JAMES                            Case No. 3:21-cv-00881-X
                                                       §
 DONDERO, NANCY DONDERO, AND
                                                       §
 THE DUGABOY INVESTMENT TRUST,
                                                       §
                                                       §
                                 Defendants.           §
                                                       §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                       §
                                                       §
                                 Plaintiff,                Adv. Proc. No. 21-03006-sgj
                                                       §
                                                       §
 vs.
                                                       §
                                                       §
 HIGHLAND CAPITAL MANAGEMENT                               Case No. 3:21-cv-00881-X
                                                       §
 SERVICES, INC., JAMES DONDERO,
                                                       §
 NANCY DONDERO, AND THE DUGABOY
                                                       §
 INVESTMENT TRUST,
                                                       §
                                                       §
                                 Defendants.
                                                       §




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                                                       §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                       §
                                                       §
                                 Plaintiff,            § Adv. Proc. No. 21-03007-sgj
                                                       §
 vs.                                                   §
                                                       § Case No. 3:21-cv-00881-X
 HCRE PARTNERS, LLC (n/k/a NexPoint                    §
 Real Estate Partners, LLC), JAMES                     §
 DONDERO, NANCY DONDERO, AND                           §
 THE DUGABOY INVESTMENT TRUST,                         §
                                                       §
                                                       §
                                 Defendants.           §




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               RESPONSE IN SUPPORT OF PLAINTIFF’S PROPOSED
          FORM OF JUDGMENT AWARDING ATTORNEYS’ FEES AND COSTS

         Highland Capital Management, L.P. (“Highland” or “Plaintiff”), plaintiff in the above-

referenced procedurally-consolidated adversary proceedings (the “Adversary Proceedings”), files

this response (the “Response”) to Defendants’ Objections to Plaintiff’s Proposed Form of

Judgment Awarding Attorney’s Fees and Costs (the “Objection”) 1 in further support of its

Proposed Form of Judgment and its Notice of Attorneys’ Fees Calculation and Backup

Documentation (the “Notice”) 2 filed on August 5, 2022. The above-captioned Defendants raise

seven concerns in their Objection regarding the reasonableness and collectability of fees detailed

in the Notice as having been actually incurred by Plaintiff’s lead counsel, Pachulski Stang Ziehl

& Jones LLP (“PSZJ”). The first six of Defendant’s objections lack merit. The seventh is not so

much an objection as it is a request that does not concern Plaintiff.

                                     Objection #1: Mathematical Error

         1.       Defendants allege that the Notice overstated PSZJ’s fees by $395,996.50.

Objection at 5-6. Defendants are mistaken. There are two reasons for the gap between the

calculations set forth in the Notice and Defendants’ calculations.

         2.       First, Plaintiff inadvertently omitted from the Notice PSZJ’s invoices for January

and February 2022. 3 Those months were particularly active and PSZJ’s fees and expenses totaled


1
  The defendants (collectively, the “Defendants” and together with Plaintiff, the “Parties”) filed identical copies of
their Objection in each of the Adversary Proceedings. See Adv. Pro. No. 21-03003-sgj, Docket No. 204; Adv. Pro.
No. 21-03004-sgj, Docket No. 173; Adv. Pro. No. 21-03005-sgj, Docket No. 221; Adv. Pro. No. 21-03006-sgj, Docket
No. 226; and Adv. Pro. No. 21-03007-sgj, Docket No. 221.
2
 See Adv. Pro. No. 21-03003 at Docket No. 197; Adv. Pro. No. 21-03004 at Docket No. 169; Adv. Pro. No. 21-03005
at Docket No. 214; Adv. Pro. No. 21-03006 at Docket No. 219; and Adv. Pro. No. 21-03007 at Docket No. 214.
3
  See Declaration of John A. Morris in Support of Highland Capital Management, L.P.’s Motion for Leave to
Supplement Backup Documentation in Support of Proposed Judgment (see, e.g., Adv. Pro. No. 21-03003-sgj, Docket
No. 206) (“Morris 9/27 Dec.”), Exhibits B and C.


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$307,493.50 (almost 80% of the alleged “math error”). Plaintiff is simultaneously moving to

supplement the record to add these two inadvertently omitted invoices.

        3.       Second, during the period December 1, 2020 through August 10, 2021, timekeepers

at PSZJ recorded time spent on the Notes Litigation under the general code “BL” (for “Bankruptcy

Litigation”) where time spent on litigation matters other than the Notes Litigation was also

recorded. 4 In the documentation supporting the Notice, all unrelated work was redacted and no

compensation is sought with respect to the redacted entries. However, Plaintiff does seek

compensation for the unredacted entries that are part of the “cost of collection.” Defendants

identified the issue but asserted it was “unduly difficult to decipher.” Objection at 6, n. 2. That’s

overstated. While perhaps a bit tedious, it is not at all difficult to calculate: for each partially-

redacted entry for which compensation is sought, Plaintiff simply added the total unredacted time

and multiplied it by the timekeeper’s hourly rate.

        4.       The results are easy to see. Attached as Exhibit 1 is a summary of each month’s

fees charged by PSZJ for the Notes Litigation that are part of Plaintiff’s “cost of collection” (at

least through July 31, 2022) (the “Summary”). Attached as Exhibits 2 through 10, respectively,

is the “backup” to the Summary for each month from December 2020 through August 10, 2021

(the “Backup”). The Backup shows each entry for the applicable month for which compensation

is sought as part of Plaintiff’s “cost of collection,” including all the unredacted portions of the

invoices. 5



4
  This issue most commonly (but not exclusively) occurred between December 1, 2020 and August 10, 2021 when
time spent on the Notes Litigation was recorded in PSZJ’s broad “Bankruptcy Litigation” (or, “BL”) code where other
litigation matters were also recorded. See Declaration of John A. Morris in Support of Highland Capital Management,
L.P.’s Proposed Form of Judgment (Adv. Pro. No. 21-03003-sgj, Docket No. 197) (“Morris 8/5 Dec.”) ¶ 7.
5
  As an example, on January 21, 2021, Hayley Winograd recorded time under the “BL” code. Except for two entries
totaling 0.5 hours, none of the entries concerned the Notes Litigation, so they were redacted and no compensation is
sough for them. But because the two unredacted entries concerned the Notes Litigation, the “backup” for January

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           5.       In sum, there was no error in the Notice. The Summary includes the value of the

Additional Invoices, and the Backup specifically identifies every entry for which compensation is

sought. The total fees and expenses for PSZJ were properly calculated in the aggregate amount

of $2,663,585.30. 6

                                     Objection #2: Excessive Redaction

           6.       Defendants contend that fees should not be awarded for “overly redacted” time

entries. Objection at 6. Plaintiff does not quarrel with this general principal but notes that it simply

does not apply here.

           7.       As set forth above and in the declaration filed in support of the Notice, 7 Plaintiff

does not seek compensation for any time entry (whether in whole or in part) that was redacted.

        Objection #3: Fees Should Be Limited to Breach of Contract and Turnover Claims

           8.       Defendants argue that Plaintiff may only recover fees for the breach of contract and

turnover claims in the complaints because those two counts were the “the only claims addressed

by the R&R issued by the Court.” See Objection at 6-13. This argument lacks merit, as the

Defendants implicitly acknowledge by quoting the Tony Cullo Motors case: “Absent a contract

or statute, trial courts do not have inherent authority to require a losing party to pay the prevailing

party’s fees.” 8 The promissory notes at the heart of these Adversary Proceedings constitute




2021, includes a line item for Ms. Winograd for January 21, 2021, showing the entries, the time billed, and the total
compensation sought (i.e., $695 hourly rate x 0.5 hours = $347.50). Exhibit 3.
6
  After receiving the Objection, Plaintiff provided copies of the Additional Invoices, the Summary, and the Backup to
Defendants’ counsel in an effort to resolve this portion of the Objection. Regrettably, Defendants’ counsel never
responded. See Morris 9/27 Dec. Exhibit A.
7
    See Morris 8/5 Dec. ¶ 10.
8
  Tony Cullo Motors I, L.P. v. Chapa, 212 S.W.3d 299, 311 (Tex. 2006) (emphasis added) does not help Defendants
in the least. The court there held, unremarkably, that because Texas law does not permit recovery for attorneys’ fees
on a fraud claim, and because there was no contract between the parties allowing for such recovery, the trial court’s
inclusion of attorney fees in the judgment constituted error.


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contracts under which Plaintiff is entitled to all costs of collection, not just those directly incurred

on a subset of litigated issues.

         9.       Section 6 of each promissory note (“Section 6”) provides:

         Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
         otherwise) and is placed in the hands of an attorney for collection, of if it is collected
         through a bankruptcy court or any other court after maturity, the Maker shall pay,
         in addition to all other amounts owing hereunder, all actual expenses of collection,
         all court costs and reasonable attorneys’ fees and expenses incurred by the holder
         hereof.

         10.      Nothing in Section 6 limits Plaintiff’s recovery of “all actual expenses of

collection” on any basis. Prevailing on one count of a complaint versus another is irrelevant. The

legal nature of one count of a complaint versus another is irrelevant. Whether Plaintiff was

effectively forced to amend its complaints to add counts in direct response to Defendants’

manufactured and ultimately unproven “condition subsequent” defense, and whether Plaintiff

“prevailed” on those additional counts, is irrelevant. Texas decisional law 9 pertaining to

circumstances where no contract exists between the litigants providing for an award of attorneys’

fees to the prevailing party is irrelevant (and Defendants’ own case citation says so).

         11.      All that matters is that Section 6 expressly provides for Plaintiff to recover “all

actual expenses of collection,” without limitation or qualification of any kind. Thus, “all” expenses



9
  Defendants cite no case where a Texas state court or a federal court refused to enforce an unambiguous provision in
a promissory note entitling the note’s holder to “all” attorneys’ fees; no case limiting fees falling within such a note
provision to the noteholder prevailing or not prevailing on a particular count in a complaint; and no case even limiting
fees incurred in the unsuccessful prosecution or defense of some motion along the way toward judgment. Notably,
Varner v. Cardenas, 218 S.W.3d 68, 69 (Tex. 2007), which expressly followed Tony Cullo Motors, not only upheld
the trial court’s award of attorneys’ fees to the prevailing plaintiff who successfully sued on a promissory note, but
also allowed the judgment to include attorneys’ fees the plaintiff incurred in defending against the defendant’s
counterclaim:
         But we disagree that fees defending against the [defendant’s] counterclaim must be segregated too.
         By asserting a shortfall in acreage as a defense and counterclaim, [defendant] sought to reduce the
         amount collected on the note; to collect the full amount, [plaintiff] had to overcome this defense. As
         [plaintiff’s] attorney’s efforts to that effect were necessary to recover on their contract, they are
         recoverable.


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includes, for example, “all” filing fees, court costs, witness fees and court reporter fees, as well as

all expenses associated with discovery. And, as specifically concerns the Objection, “all” means

all “reasonable attorneys’ fees and expenses incurred by” Plaintiff.

           12.     That Plaintiff incurred significant attorneys’ fees in amending the complaints

following Defendants’ announcement of their fanciful “condition subsequent” defense does not

take those fees outside the purview of the word “all.” This is especially true because all of the fees

Defendants argue should be excluded from the judgments were incurred because of Defendants’

own machinations. Rather than acknowledge that they had no meritorious defense to the payment

of unambiguous demand notes, all in default, Defendants turned these straightforward collection

actions into an orgy of litigation, fabricating meritless defenses, advancing unpersuasive

arguments, requiring extensive discovery and numerous depositions, amending their answers, and

forcing Plaintiff to amend the complaints to respond to the novel “condition subsequent” defense.

           13.     All of the fees Plaintiff incurred in playing Defendants’ cynical game of Whack-a-

Mole, in overcoming every obstacle Defendants attempted to place in Plaintiff’s path toward

judgment—even in responding to Defendants’ ill-fated attempt to compel an arbitration of these

simple collection matters and Defendants’ immediate appeal of this Court’s ruling denying their

arbitration motion—all of it, for more than a year, is directly attributable to Defendants’ own

litigation strategies, choices, and impositions on Plaintiff and on this Court. 10 Defendants, not

Plaintiff, caused the word “all” in the notes to encompass far more fees than might otherwise have

been incurred had Defendants not cravenly attempted to defend the indefensible.

           14.     Defendants’ attempt to artificially limit the fees Plaintiff actually incurred in

connection with these Adversary Proceedings—which only involve the collection of promissory


10
     See Varner v. Cardenas, 218 S.W.3d at 69.


                                                    5
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notes “not paid at maturity … collected through a bankruptcy court …”—ignores the plain

meaning of the notes. There is nothing ambiguous about the phrase “all actual expenses of

collection.” The drafter of the notes should be commended for writing so clear and unambiguous

a provision. That drafter, of course, was Mr. Dondero.

                             Objection #4: Exclude “Unsegregated” Fees

          15.    Defendants argue that Plaintiff should not recover fees because counsel’s time

records did not “segregate” fees among the several Defendants, citing the Clearview Properties

case. See Objection at 13-16. Clearview Properties stands for the unremarkable proposition that

a plaintiff seeking an award of fees bears the burden of demonstrating that segregation is not

required, and asserting that all claims against all defendants arise from common facts can be

insufficient to satisfy that burden. Defendants ignore, of course, a critical component of these

Adversary Proceedings, a component absent from the Clearview Properties case: these Adversary

Proceedings were consolidated for all purposes, something to which the Defendants readily

agreed.

          16.    Indeed, before most of the fact depositions or any expert discovery was undertaken,

the Parties entered into a court-approved Stipulation providing, among other things, that:

          The Parties agree that discovery taken in this case will be consolidated with
          discovery taken in the [] [A]dversary [P]roceedings and all discovery in each of the
          [A]dversary [P]roceedings will be treated as if it was taken in all of the [A]dversary
          [P]roceedings . . . so that each witness will only need to be deposed once and
          documents produced in any of the [Adversary P]roceedings are usable as if received
          in every other [P]roceeding.

See Order Approving Stipulation Governing Discovery and Other Pre-Trial Issues [Adv. Pro. No.

21-03003-sgj, Docket No. 86] ¶ 4. 11



11
   See also Adv. Pro. No. 21-03004-sgj, Docket No. 68 (same); Adv. Pro. No. 21-03005-sgj, Docket No. 70 (same);
Adv. Pro. No. 21-03006-sgj, Docket No. 75 (same); and Adv. Pro. No. 21-03007-sgj, Docket No. 70 (same).


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         17.      It is disingenuous for Defendants to agree to the consolidation of discovery and

then later complain about the consolidation of discovery. Defendants themselves consented to and

participated in consolidated hearings on all matters, consolidated discovery in all respects—by

agreement, all witnesses, common to the parties, sat for deposition once, not separately for each

Defendant—and consolidated proceedings and hearings on summary judgment.

         18.      Indeed, all of the Defendants have now asserted the “conditions subsequent”

defense, 12 and even HCMFA relied on the same witnesses as the other Defendants for its remaining

defenses, all of whom testified once, and took consolidated discovery with all other Defendants.

Defendants’ suggestion that the proceedings in these completely consolidated cases remained

separate is not credible. Counsel for all Defendants participated in all proceedings in this Court

and all discovery because everything was consolidated, just as Defendants themselves wanted.

         19.      That consolidation only made sense. At all times, each of these Defendants was

owned and controlled by Mr. Dondero. All Defendants were close affiliates of one another. The

individual Defendants were brother and sister. All Defendants asserted the same fabricated

“condition subsequent” defense. 13 All designated the same witnesses to be deposed—once, not

several times. All were represented by the same law firms in these consolidated proceedings,


12
   While HCMFA did not assert the “conditions subsequent” defense in the main notes litigation, it did so in the follow-
up adversary proceeding where Plaintiff seeks to collect on two promissory notes issued by HCMFA that were the
subject of a forbearance agreement and that were therefore not included in the main notes litigation. See Adv. Pro.
No. 21-03082-sgj (the “Second HCMFA Action”). The District Court, sua sponte, consolidated the Second HCMFA
Action with the main notes litigation (see Case No. 3:21-cv-00881-X, Docket No. 49), and Plaintiff moved for
summary judgment in the Second HCMFA Action based in substantial part on the evidence adduced in the main notes
litigation (see, e.g., Adv. Pro. No. 21-03082-sgj, Docket No. 48 (Plaintiff’s Appendix including all documents
(including deposition transcripts) used to support its motion for summary judgment in the main notes litigation)).
Thus, all Defendants agreed to, and benefitted from, the consolidation of the Adversary Proceedings and discovery
for efficiency purposes.
13
   See Adv. Pro. No. 21-03082-sgj, Docket No. 48 (Plaintiff’s Appendix, Ex. 215 (deposition transcript of James
Dondero taken in the Second HCMFA Action), Appx. 4906-07) (agreement that transcripts from main notes litigation
could be used in the Second HCMFA Action for efficiency purposes); (Plaintiff’s Appendix, Ex. 210 (deposition
transcript of Nancy Dondero taken in the Second HCMFA Action), Appx. 4842-43) (agreement that transcripts from
main notes litigation could be used in the Second HCMFA Action for efficiency purposes).


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appeared at all depositions and all hearings, and obviously collaborated in the defense of these

actions. The promissory notes—they all contain Section 6, entitling Highland to “all expenses of

collection”—are all functionally identical. To ignore all of this and persist in the pretense that each

Defendant has litigated these matters separately from one another is to elevate form over substance

and, worse, allow these Defendants to benefit from the consolidation while simultaneously

punishing Plaintiff—the prevailing party—for that same consolidation.

         20.      The very consolidation that enabled all parties and this Court to enjoy at least some

level of litigation efficiency, the very consolidation these Defendants wanted and moved this Court

to impose, is now the consolidation Defendants would have this Court utterly ignore in favor of

requiring Plaintiff to do the impossible—to segregate fees incurred in fully consolidated

proceedings, Defendant by closely-affiliated Defendant, as though there were no consolidation

either ordered by this Court or stipulated to by these Defendants. 14 The egg has been thoroughly

scrambled for well over a year. Defendants willingly scrambled it, but would now have the

prevailing Plaintiff separate yolk from white. This is ridiculous.

            Objection #5: Plaintiff Should Not Get Fees for “Unsuccessful Litigation”

         21.      Defendants attempt to highlight three pieces of this lengthy litigation as the sole

examples of instances in which Plaintiff did not prevail, then argue unpersuasively that the fees

associated with those three pieces are not recoverable.

         22.      As a threshold matter, the entire argument ignores the simple, unavoidable fact of

Section 6, which entitles Plaintiff to “all expenses of collection” without regard to whether Plaintiff


14
   None of the cases—even the oddly-included and non-binding case from Florida state court—Defendants cite in
support of this particular objection included a consolidation of proceedings against closely-affiliated defendants. None
featured consolidated actions on functionally identical, unambiguous promissory notes all made by defendants payable
to a close affiliate of the defendants. None featured consolidated discovery using identical witnesses testifying once
at deposition for all defendants. None addressed circumstances even remotely resembling these consolidated
Adversary Proceedings.


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prevailed or not on isolated motions along the way to a judgment in full on the merits. As stated

above, no law—not Texas state law, not bankruptcy law—requires a successful plaintiff entitled

to all costs and fees of collection on a note to prevail on every jot and tittle in a multi-faceted,

multiple-defendant, multi-year litigation in order to have “all expenses of collection” awarded as

part of the judgment on the note. None of Defendants’ cases in this section of the Objection stands

for such a proposition. The only cited case binding on this Court—the Wal-Mart case—says

nothing of the sort and is otherwise inapplicable because it did not involve an action on a note, or

a contract that entitled the prevailing party to all fees, or consolidated litigation against closely-

affiliated defendants. 15

         23.       Even if Plaintiff’s uniform success at every small step on the way to complete

victory mattered at all (and it does not), Defendants mischaracterize all three instances of so-called

“unsuccessful” litigation:

                   a.       Defendants moved to strike the Klos declaration attached to Plaintiff’s reply

appendix in support of summary judgment, (see, e.g., Adv. Proc. 21-3003, Docket No. 169), and

the Bankruptcy Court granted the motion to strike on the ground that Plaintiff did not seek leave

of court to include the Klos declaration in a reply appendix, (see id. at Docket No. 187). Thus,

this was a simple evidentiary ruling by the court and does not constitute an example of

“unsuccessful litigation.”




15
  Even the Objection demonstrates Wal-Mart’s inapplicability by quoting that case thus: “multiple claims against
multiple parties … could have been easily segregated ….” 647 F.3d 237, 244, 246–48 (5th Cir. 2021) (emphasis
added). In that case, the plaintiff did not prevail against all the defendants, as Highland did here. The defendants were
unaffiliated, and there was no mention of the type of deep consolidation of all proceedings in that litigation that typified
these Adversary Proceedings.


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                    b.      Plaintiff did not “lose” its “motion for sanctions.” 16 The motion Defendants

refer to was not a stand-alone motion for sanctions. That motion 17 was a single motion seeking

two forms of relief: (i) the striking of an argument in opposition to summary judgment that was

precluded by a prior court order; and (ii) sanctions for that conduct. Plaintiff prevailed on that

motion because this Court granted the motion to strike. Yes, the Court declined to award sanctions,

but it granted the motion. 18 It would have been impossible to parse the work done with respect to

the striking of the impermissible argument from the work done with respect to seeking sanctions

for pursuing the same impermissible argument. Not surprisingly, Defendants cite no law that

would award fees for prevailing on one form of relief in a motion while denying fees for not

prevailing on another form of relief in the same motion based on the same conduct and advancing

the same arguments. Such a rule, especially in the present circumstances, would be absurd.

Plaintiff prevailed on that motion and, even ignoring that Plaintiff is entitled to all fees under the

notes, Plaintiff’s fees incurred in connection with that motion would be awardable even under

Defendants’ theory.

                    c.      Plaintiff’s efforts to consolidate these proceedings before a different district

court judge than that ultimately received these cases were undeniably a part of the integrated tactics

and actions taken in these collection cases. It is technically true that Plaintiff did not prevail in its

effort to consolidate these cases before that other judge, but those were good-faith efforts to

maximize Plaintiff’s chances of success in nascent litigation against a highly-litigious set of foes.

No one “wasted everyone’s time ….” 19 Compared with months and months of litigation caused by


16
     Objection at 17.
17
     Adv. Proc. No. 21-3006, Docket No. 162.
18
     Adv. Proc. No. 21-3006, Docket No. 208.
19
  Objection at 18. Indeed, as the Bankruptcy Court explained, the Plaintiff followed the “typical procedure in
consolidation actions” but the District Court consolidated the cases before a different judge for reasons of “judicial

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Defendants’ pulling the “condition subsequent” defense out of the ether, then litigating a meritless

arbitration demand (and then appealing this Court’s rejection of that demand), Plaintiff’s initial

consolidation motion, resolved over the course of a couple weeks, is hardly unreasonable. And,

again, none of this matters because the notes entitle Plaintiff to “all expenses of collection.”

                                Objection #6: PSZJ’s Rates Are Too High

         24.      Defendants argue that PSZJ’s rates are unreasonably high because they exceed the

rates that some law firms located in Dallas charge for similar services. But this Court has already

approved PSZJ’s rates as reasonable under Bankruptcy Code § 330 after Defendant NexPoint

opposed PSZJ’s final fee application in the administrative case. 20 Moreover, this Court has already

heard argument regarding PSZJ’s billing rates and has already approved those rates as reasonable

under the applicable standard originally announced by the Fifth Circuit in Johnson. 21

         25.      Wholly aside from the reasonableness of PSZJ’s rates in relation to the complexity

of this Chapter 11 case, the notably high value of the estate’s assets, and the unrestrained

litigiousness Mr. Dondero and his entities foisted on these proceedings, it is worth emphasizing

that Mr. Dondero, in his capacity as President of Highland, personally hired Plaintiff’s counsel

when he controlled Highland and agreed, in writing, to the very fee structure and rates (albeit with


efficiency” and “due to certain other factors.” See Report and Recommendation to District Court: Court Should
Grant Plaintiff’s Motion for Partial Summary Judgment Against All Five Note Maker Defendants, Adv. Pro. No. 21-
03003-sgj, Docket No. 191 at 4, n.5.
20
  See Case No. 19-34054-sgj11 (the “Bankruptcy Docket”), Docket No. 2906, Fifth and Final Application for
Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP at 37–39 (describing how
PSZJ’s fees satisfied the so-called Johnson factors—see Johnson v. Ga. Highway Express, Inc., 488 F.2d 714 (5th
Cir. 1974)); Bankruptcy Docket No. 3055, Order Granting Fifth and Final Application for Compensation and
Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP (the “Final Fee Order”).
21
   Although it is true that Defendant NexPoint timely appealed this Court’s Final Fee Order, the District Court
dismissed that appeal without reaching the merits because NexPoint lacked appellate standing under the Fifth Circuit’s
“person aggrieved” standard. See NexPoint Advisors, L.P. v. Pachulski Stang Ziehl & Jones LLP et al., case no. 3:21-
cv-03086-K (N.D. Tex.), Docket No. 37, Memorandum Opinion and Order. Unsurprisingly, NexPoint has now
appealed the District Court’s dismissal order to the Fifth Circuit Court of Appeals and will undoubtedly ask the Fifth
Circuit to overturn the “person aggrieved” standard adopted and re-adopted in decades of the Court of Appeals’ own
jurisprudence.


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disclosed, annual increases customary in the industry) he now complains about. The irony of

Defendants now objecting to PSZJ’s rates is almost too much. Mr. Dondero and the other

Defendants he owns and controls cannot now be heard to object to fee rates that he agreed to when

he engaged PSZJ to act as Highland’s primary Chapter 11 counsel.

        26.      PSZJ’s fee rates have also been approved as reasonable in other Chapter 11 cases

in this District in cases not as complex as this one and in cases that did not feature a vexatious

litigant bent on making good on his threat to “burn the place down.” See, e.g., In re Studio Movie

Grill Holdings, LLC, et al., Case No. 20-32633-sgj11 (Bankr. N.D. Tex. July 9, 2021), Docket No.

989; In re Tuesday Morning Corp., et al., Case No. 20-31476-hdh11 (Bankr. N.D. Tex. April 1,

2021), Docket No. 2214.

    Objection #7: The Distribution of Fees and Costs Among Defendants Is Unreasonable

        27.      Finally, Defendants express dissatisfaction with Plaintiff’s proposed equal

distribution of awarded fees among all five Defendants. Plaintiff is indifferent and has no objection

if Defendants would rather allocate Plaintiff’s fees and costs pro rata, based on the ratio of the

outstanding principal and interest owed by each Obligor to the total principal and interest owed by

all Obligors.

                                            CONCLUSION

        28.      The Objection lacks merit in all respects. Plaintiff is entitled to “all expenses of

collection” of all notes, which includes all fees Plaintiff incurred in this consolidated set of

Adversary Proceedings made endlessly complicated and litigious by the very Defendants now

seeking to prevent Plaintiff from recovering fees under the unambiguous provision of promissory

notes Mr. Dondero wrote. The Court should overrule the Objection and include in the final

judgment in this matter all fees and costs submitted to this Court in the Notice and otherwise.



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